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                                           DAVID LEE WHITE
                                       6

                                       7                                  IN THE UNITED STATES DISTRICT COURT

                                       8                             FOR THE EASTERN DISTRICT OF CALIFORNIA

                                       9

                                      10   UNITED STATES OF AMERICA,                               Case No. 2:19-CR-00043-MCE
                                      11                     Plaintiff,
                                                                                                   STIPULATION AND ORDER TO
                                      12            v.                                             CONTINUE STATUS CONFERENCE

                                      13   DAVID LEE WHITE,
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




                                                                                                   Judge: Honorable Morrison C. England.
                                      14                     Defendant.

                                      15

                                      16                                                STIPULATION

                                      17            1.       By previous order this case was set for status conference on October 15, 2020.

                                      18            2.       By this stipulation, the defendants ask to move the status conference until

                                      19   December 10, 2020 and to exclude time between October 15, 2020 and December 10, 2020 under

                                      20   Local Code T4.

                                      21            3.       The parties agree and stipulate, and request that the Court find the following:

                                      22                     (a)      Counsel for defendant desires time to consult with their clients, review the

                                      23   discovery, conduct investigation and otherwise prepare for trial.

                                      24                     (b)      In light of the global pandemic defense counsel’s ability to investigate this

                                      25   case is extremely limited. Witness interviews and other investigation cannot take place. The

                                      26   Eastern District of California has issued numerous emergency orders, consistent with similar

                                      27   orders issued by other district and appellate courts, addressing this situation.

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                                                     STIPULATION AND ORDER                                             [Case No. 2:19-CR-00043-MCE]
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                                       1                    (c)      Counsel for defendants believe failure to grant the above-requested
                                       2   continuance would deny them the reasonable time necessary for effective preparation, taking into
                                       3   account the exercise of due diligence.
                                       4                    (d)      The government does not object to the continuance.
                                       5                    (e)      Based on the above-stated findings, the ends of justice served by
                                       6   continuing the case as requested outweigh the interest of the public and the defendants in a trial
                                       7   within the original date prescribed by the Speedy Trial Act.
                                       8                    (e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
                                       9   § 3161, et seq., within which trial must commence, the time period of October 15, 2020 to
                                      10   December 10, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
                                      11   [Local Code T4] because it results from a continuance granted by the Court at defendants’ request
                                      12   on the basis of the Court’s finding that the ends of justice served by taking such action outweigh
                                      13   the best interest of the public and the defendants in a speedy trial.
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




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                                      15   Dated: September 30, 2020.                      Respectfully submitted,
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                                                                                    By     /s/ Kresta Nora Daly for
                                      17                                                   GRANT RABENN
                                                                                           ASSISTANT UNITED STATES ATTORNEY
                                      18

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                                      20
                                           Dated: September 30, 2020.                      BARTH DALY LLP
                                      21

                                      22                                            By     /s/ Kresta Nora Daly
                                                                                           KRESTA NORA DALY
                                      23                                                   Attorneys for DAVID LEE WHITE
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                                                    STIPULATION AND ORDER                                            [Case No. 2:19-CR-00043-MCE]
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                                        1                                                ORDER
                                        2            PURSUANT TO STIPULATION AND GOOD CAUSE APPEARING, IT IS HEREBY
                                        3   ORDERED THAT:
                                        4            The status conference of October 15, 2020 is vacated. The status conference will be reset
                                        5   for December 10, 2020. The Court finds excludable time through December 10, 2020 under Title
                                        6   18, United States Code Section 3161(h)(7)(B)(iv) and Local Code T4 to allow for preparation of
                                        7   counsel. The Court finds that the interests of justice are best served by granting the request and
                                        8   outweigh the interests of the public and the defendant in a speedy trial. (18 U.S.C.
                                        9   § 3161(h)(7)(A), (h)(7)(B)(iv).)
                                       10            IT IS SO ORDERED.
                                       11

                                       12   Dated: October 1, 2020
                                       13
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFO RNIA




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                                                     STIPULATION AND ORDER                                          [Case No. 2:19-CR-00043-MCE]
